                                                                            08/27/2024


     IN THE SUPREME COURT OF THE STATE OF MONTANA                       Case Number: DA 24-0370



                             No. DA 24-0370

IN THE MATTER OF

D.P.K.,

YOUTH IN NEED OF CARE.


                                ORDER


     Upon consideration of Appellant’s motion for extension of time,

and good cause appearing,

     IT IS HEREBY ORDERED that Appellant is granted an extension

of time to and including September 27, 2024, within which to prepare,

file, and serve Appellant’s opening brief on appeal.




                                                            Electronically signed by:
                                                               Bowen Greenwood
                                                           Clerk of the Supreme Court
                                                                 August 27 2024
